           Case 3:22-cv-01559-LB Document 58 Filed 08/24/22 Page 1 of 4



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17                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
18                                   SAN FRANCISCO DIVISION

19     JOHN DOE 1, JOHN DOE 2, JOHN DOE 3,                 Case No. 3:22-CV-01559-LB
       JOHN DOE 4, JOHN DOE 5, JOHN DOE 6,
20     JOHN DOE 7, JOHN DOE 8, JOHN DOE 9,                 NOTICE RE: PLAINTIFFS’
       JOHN DOE 10, JOHN DOE 11, and JOHN                  ADMINISTRATIVE MOTION TO
21     DOE 12, individually and on behalf of all           PROCEED ANONYMOUSLY
       others similarly situated,
22
                      Plaintiffs,
23
                 v.
24
       NATIONAL COLLEGIATE ATHLETIC
25     ASSOCIATION, THE UNIVERSITY OF SAN
       FRANCISCO, ANTHONY N. (AKA NINO)
26     GIARRATANO, and TROY NAKAMURA,
27                    Defendants
28
                                                                           NOTICE RE: ADMIN MOTION TO
                                                                               PROCEED ANONYMOUSLY
     2455632.2                                                                 CASE NO. 3:22-CV-01559-LB
           Case 3:22-cv-01559-LB Document 58 Filed 08/24/22 Page 2 of 4



 1    TO THE COURT, DEFENDANTS, AND ATTORNEYS OF RECORD:
 2               Plaintiffs hereby request a hearing on their administrative motion, made pursuant to Local
 3    Rule 7-11, for Plaintiffs John Does 4 through 12 to proceed in this case anonymously. ECF No.
 4    53. Though the Court previously granted this request as to John Does 1, 2, and 3, ECF No. 14,
 5    Defendant University of San Francisco (“USF”) has now opposed this motion, ECF No. 55, and
 6    Defendants Anthony N. Giarratano and Troy Nakamura (the “Coach Defendants”) have now
 7    withdrawn their prior stipulations to the motion, ECF Nos. 56, 57. Given the serious nature of
 8    these issues, and to the extent the Court is inclined to credit any of the arguments raised in USF’s
 9    opposition, then Plaintiffs respectfully request an opportunity to respond to those arguments in a
10    brief reply brief and/or at a hearing on the administrative motion. Plaintiffs’ counsel can be
11    available for a hearing at the Court’s convenience.
12               Separately, Plaintiffs intend to file a motion for a protective order to address their serious
13    concerns that the Coach Defendants intend to broadly disseminate the true identities of the
14    Plaintiffs. See ECF Nos. 56, 57. See also, e.g., J.C. v. Choice Hotels Int’l, Inc., No. 20-cv-155-
15    WHO, 2021 WL 1146406 (N.D. Cal. March 4, 2021) (granting plaintiff’s motion to proceed
16    under a pseudonym, and granting motion for protective order requiring witnesses to sign an
17    agreement that the plaintiff’s identity will be protected and not disseminated before defendants
18    are permitted to disclose the plaintiff’s identity).
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       Dated: August 24, 2022                       Respectfully submitted,
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21                                                  By: /s/ Jonathan Selbin
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                                                                                     NOTICE RE: ADMIN MOTION TO
                                                       -1-                               PROCEED ANONYMOUSLY
     2455632.2                                                                           CASE NO. 3:22-CV-01559-LB
           Case 3:22-cv-01559-LB Document 58 Filed 08/24/22 Page 3 of 4



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                                                                       NOTICE RE: ADMIN MOTION TO
                                          -2-                              PROCEED ANONYMOUSLY
     2455632.2                                                             CASE NO. 3:22-CV-01559-LB
           Case 3:22-cv-01559-LB Document 58 Filed 08/24/22 Page 4 of 4



 1                                        CERTIFICATE OF SERVICE
 2               I hereby certify that on August 24, 2022, I electronically filed the foregoing with the Clerk
 3    of the Court using the CM/ECF system, which will send notification of such filing to all counsel
 4    of record who receives CM/ECF notification.
 5

 6     DATED: August 24, 2022                 /s/ Jonathan Selbin
                                              Jonathan Selbin
 7
                                              LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
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     2455632.2                                                                          CASE NO. 3:22-CV-01559-LB
